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                IN THE UNITED STATES DISTRICT COURT
             FOR THE NORTHERN DISTRICT OF GEORGIA
                          ATLANTA DIVISION
____________________________________
                                    )
BUCKHEAD CITY COMMITTEE,            )
                                    )
     Plaintiff,                     )
                                    )
v.                                  )    No. 1:22-cv-00234-SEG
                                    )
CITY OF ATLANTA, GEORGIA,           )
                                    )
     Defendant.                     )
____________________________________)

                   RESPONSE TO MOTION TO DISMISS
                    AND SUGGESTION OF MOOTNESS

      Plaintiff hereby responds to Defendant’s motion to dismiss (Dkt. No. 6).

      1.    Plaintiff timely filed an amended complaint pursuant to Federal Rule

of Civil Procedure 15(a)(1)(B). See Dkt. No. 13.

      2.    This Court has consistently recognized that the filing of an amended

complaint “supersedes the original complaint, and thus renders moot a motion to

dismiss the original complaint.” Southern Pilot Ins. Co. v. CECS, Inc., 15 F. Supp.

3d 1284, 1287 n.1 (N.D. Ga. 2013). See also Thomas v. Alcon Labs., 116 F. Supp.

3d 1361, 1365 n.5 (N.D. Ga. 2013); Williams v. First Communities Mgmt., Inc.,

2015 WL 13776637, at *1 (N.D. Ga. Sept. 29, 2015); Sheppard v. Bank of Am.,

N.A., 2012 WL 3779106, at *4 (N.D. Ga. Aug. 29, 2012); Cordell v. Pacific

Indemnity, 2006 WL 1935644, at *4 (N.D. Ga. July 11, 2006).
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      3.    Therefore, Plaintiff respectfully requests that the Court enter an order

finding Defendant’s motion to dismiss the original complaint moot.

      DATED this 18th day of April, 2022.

                                            Respectfully submitted,

                                     BY:    WEBB, KLASE & LEMOND, LLC

                                             /s/ E. Adam Webb
                                            E. Adam Webb
                                             Georgia Bar No. 743910
                                            G. Franklin Lemond, Jr.
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                         CERTIFICATE OF SERVICE

      I hereby certify that on this 18th day of April, 2022, I caused the foregoing

document to be electronically filed with the Clerk of Court using the CM/ECF

system which automatically sends email notification of such filing to all attorneys

of record.

                                       /s/ G. Franklin Lemond, Jr.
                                      G. Franklin Lemond, Jr.
